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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

PERKINS COIE LLP,

           Plaintiff,

     v.

U.S. DEPARTMENT OF JUSTICE,
FEDERAL COMMUNICATIONS
COMMISSION, OFFICE OF
MANAGEMENT AND BUDGET, EQUAL
EMPLOYMENT OPPORTUNITY                  Civil Action No. 1:25-cv-00716
COMMISSION, OFFICE OF PERSONNEL
MANAGEMENT, GENERAL SERVICES            EMERGENCY HEARING RESPECT-
ADMINISTRATION, OFFICE OF THE           FULLY REQUESTED
DIRECTOR OF NATIONAL
INTELLIGENCE, THE UNITED STATES
OF AMERICA, and, in their official
capacities, PAMELA J. BONDI, BRENDAN
CARR, RUSSELL T. VOUGHT, ANDREA
R. LUCAS, CHARLES EZELL, STEPHEN
EHEKIAN, and TULSI GABBARD,

           Defendants.


   MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF PERKINS COIE’S
        MOTION FOR A TEMPORARY RESTRAINING ORDER
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                                        INTRODUCTION

       The President’s March 6, 2025 Executive Order—titled “Addressing Risks from Perkins

Coie LLP”—is an unconstitutional assault on Perkins Coie, its lawyers, its employees, its clients,

the legal profession, and the rule of law. Perkins Coie lawyers are among the nation’s best. They

practice at the highest levels of the profession in federal and state courts across the country, before

more than 90 federal agencies, and in varied transactional settings. They serve their communities

as Sunday school teachers, Scout leaders, youth sports coaches, military reservists, and board

members of civic organizations. Presidents from both political parties, including President Trump,

have appointed Perkins Coie lawyers to serve as federal judges. Perkins Coie’s staff have called

the Firm one of the “Best Companies to Work For” for over 20 years. Perkins Coie lawyers devote

countless hours to providing free legal services to those who cannot afford to pay. In 2024 alone,

Perkins Coie lawyers worked over 89,000 hours on pro bono matters valued at nearly $70 million.

       Lawyers protect and promote our cherished freedoms, including the rights to free speech

and to petition the government, and safeguard the rule of law that underpins our democratic system.

Critical to this role is lawyers’ time-honored duty to advocate zealously for their clients, no matter

how controversial. Zealous advocacy serves as a bulwark against government abuses that erode

the rule of law. In keeping with the highest tradition of the legal profession, Perkins Coie has

zealously advocated for its clients in matters large and small since the Firm’s founding more than

a century ago. The President’s Executive Order attacks Perkins Coie and its clients for that advo-

cacy. The Firm already has suffered significant harm, and that harm is increasing every day.

       The Order defames Perkins Coie’s 1,200 lawyers as “dishonest” and “dangerous” without

basis. And it seeks to punish Perkins Coie based on a tiny sliver of the Firm’s work: The Order

criticizes the representations by former Perkins Coie lawyers almost a decade ago of clients that

the President perceives as his political enemies, as well as the Firm’s present representation of


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clients in litigation that challenges his Administration’s policies. The retaliatory punishment the

Order imposes is unprecedented. It purports to restrict access to federal buildings for every one of

the 2,500 lawyers and employees of the Firm. It instructs federal agencies to refuse to meet with

Perkins Coie lawyers and staff or even engage with them. It instructs federal agencies to terminate

contracts held by firm clients, for the express goal of causing clients to sever their relationships

with their trusted Perkins Coie lawyers. The Order is not just an attempt to constrain or weaken

Perkins Coie; its objective is to destroy the Firm. Unless restrained, the Order realistically might

succeed in that objective within days based on the weight of the federal pressure being deployed

against the Firm’s clients.

       The Order is unconstitutional from top to bottom. While styled an Executive Order, the

Order is not really executive at all. It purports instead to adjudicate whether a handful of former

Perkins Coie lawyers committed misconduct (as defined by the President) years ago, and then to

punish the entire Firm with terminal sanctions for those lawyers’ supposed transgressions. It

makes these adjudicative “findings” without notice to Perkins Coie and without an opportunity to

be heard and to contest the Order’s false claims. If Congress had enacted legislation mirroring the

Executive Order, it would be an unconstitutional bill of attainder. The Constitution likewise bars

the President from punishing his political opponents’ law firms with a sweep of the pen.

       The Order does not even try to disguise its retaliatory purpose. The President promised

during the campaign to retaliate against his political opponents, including the attorneys who rep-

resented them (“WHEN I WIN, those people that CHEATED will be prosecuted to the fullest

extent of the Law…. Please beware that this legal exposure extends to Lawyers….”). The Order

makes good on that threat. The President confirmed as much at the signing ceremony, when he

stated that Perkins Coie had engaged in weaponization “against a political opponent” (i.e., himself)




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and tried to justify the Order by touting the chilling effect it will have on lawyers’ representations

of their clients (“it should never be allowed to happen again”).

       Although the Executive Order is expressly political, its consequences are not. The Order

already has produced several harmful effects for Perkins Coie and its clients. Government officials

already have invoked the Order to refuse to meet with Perkins Coie attorneys—including on mat-

ters having nothing to do with presidential politics or government contracting. Agencies already

have asked Perkins Coie clients to disclose whether they have a relationship with the Firm. Some

clients already have chosen to move work elsewhere. And other clients have expressed grave

concern about the consequences of continuing to retain Perkins Coie if this illegal Order is not

enjoined. Without an immediate restraining order, significant additional client relationships likely

will be lost within days. The Order thus poses an imminent, ongoing threat to the Firm’s survival.

       Although the entire Executive Order is invalid, this Court should temporarily restrain at

least Sections 1, 3, and 5. The constitutional violations are plain.

       First, the Order exceeds the President’s constitutional and statutory authority and thus vi-

olates the separation of powers. The President has no valid authority to adjudicate and punish

alleged misconduct by a law firm in its general representation of clients.

       Second, the Order blatantly violates the First Amendment by retaliating against the Firm

and its attorneys for associating with clients and advocating positions the President disfavors and

by discriminating against the Firm and its attorneys on the basis of viewpoint.

       Third, the Order deprives Perkins Coie and its attorneys of their liberty and property inter-

ests without any semblance of due process of law.

       Fourth, the Order unlawfully interferes with the ability of Perkins Coie and its attorneys to

represent their clients in violation of the Sixth Amendment and Due Process Clause.




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       Fifth, the Order deprives Perkins Coie and its attorneys of equal protection of the law by

singling out and targeting the law firm based on raw animus.

       In short, the Executive Order seeks to punish a law firm for its zealous and successful

representations of the President’s political opponents by bullying clients into taking their business

elsewhere and ultimately forcing the entire Firm into collapse. It presages the next step, which is

to intimidate other law firms from representing clients who would challenge Administration poli-

cies. No President, regardless of party, is authorized to exercise such power. The Court should

grant a temporary order restraining implementation of at least Sections 1, 3, and 5 of the Order.

                                        BACKGROUND

       A.      Perkins Coie’s History of Advocating for Its Clients

       Perkins Coie is one of the largest full-service law firms in the United States. It employs

more than 1,200 lawyers in offices around the world, and another approximately 1,200 business

professionals. Burman Decl. ¶ 7. Perkins Coie’s attorneys include military veterans, former pros-

ecutors, and public servants. Id. ¶¶ 4, 7. They serve on hundreds of boards of civic organizations,

ranging from art museums and food kitchens to major universities and local schools. Id. ¶ 7. Its

lawyers hold political views across the spectrum. Many attorneys joined the Firm after govern-

ment service in both Democratic and Republican administrations, or after serving as judges or law

clerks to judges appointed by both Democratic and Republican presidents. Id. ¶ 8. Reflecting this

bipartisan ethos, four Perkins Coie partners have recently been appointed as federal judges: two

by President Trump and two by President Biden. Id.

       Perkins Coie is dedicated to serving its clients, communities, and employees. Over its 113-

year history, its lawyers have represented clients in every state, in federal and state courts across

the nation (including the Supreme Court), and in tribunals worldwide. Id. ¶ 5. The Firm and its

lawyers are regularly recognized for excellence. Id. ¶ 6. Perkins Coie has a longstanding, firmwide


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commitment to pro bono service. Id. ¶ 9. Its lawyers have provided nearly one and a half million

hours of pro bono service to countless clients, including the League of Women Voters and other

non-partisan organizations, and including indigent criminal defendants in the federal courts. Id.

          As a full-service law firm that represents clients in all sectors of the economy, Perkins Coie

routinely interacts with the federal government and its employees on behalf of the Firm’s clients

in innumerable ways. Id. ¶ 11. The Firm has nearly 1,000 active matters that require its lawyers

to interact with more than 90 federal agencies. Id. ¶¶ 11, 19. Many of its clients are government

contractors who have hired Perkins Coie for legal services having nothing to do with those gov-

ernment contracts. Id. ¶ 14; see also infra pp.7-9, 33-34, 38, 41-42.

          B.     The Executive Order and Accompanying “Fact Sheet”

          On March 6, 2025, the President issued Executive Order No. 14230 titled “Addressing

Risks From Perkins Coie LLP.” Ex. 1 (hereinafter “Executive Order” or “EO”).1 Section 1 de-

clares that Perkins Coie has engaged in “dishonest and dangerous activity” “for decades.” Id. § 1.

As purported examples of such “dishonest and dangerous activity,” the Order cites the Firm’s

representation of the President’s opponent in the 2016 election, Hillary Clinton, and its retention

of an investigative firm, Fusion GPS, as part of that representation. Id. As a further example of

alleged “dishonest and dangerous activity,” the Order asserts that the Firm has worked with “ac-

tivist donors” to “judicially overturn popular, necessary, and democratically enacted election

laws.” Id.

          The Executive Order’s assertions that Perkins Coie’s employees present active “risk[s]”

are preposterous. The Order fails to mention that the lawyer who led the representation of the

2016 Clinton presidential campaign is no longer employed by Perkins Coie and has not been for


1
    Exhibits are attached to the Declaration of Christopher N. Manning, filed herewith.


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years. Burman Decl. ¶ 12. Nor does the Order mention that, in the litigation matters it decries,

the Firm’s clients prevailed against all but one of dozens of challenges brought by the Trump

campaign seeking to overturn the 2020 election results, or that the Firm’s clients also prevailed in

a significant number of voting rights cases, including cases where its clients were successful in

defending existing laws. Id. ¶ 21. The Order also omits that, before President Trump’s reelection,

a federal court in Florida dismissed with prejudice his personal lawsuit against Perkins Coie alleg-

ing that the Firm had conspired with the Clinton campaign and others to weave a false narrative

about Mr. Trump’s colluding with Russia to interfere with the 2016 election. Id. ¶ 22.

       Section 1 asserts that one court sanctioned Perkins Coie attorneys for a “lack of candor.”

EO § 1. The Order does not mention that the incident occurred in 2021; that the total sanction was

$8,700; that the three sanctioned attorneys are no longer partners or employees of the Firm; that

what the court determined to be a lack of candor was a failure to notify the court that a motion to

supplement the record was “nearly identical” to an earlier motion filed when the attorneys had

sought an emergency stay; and that, upon reconsideration, the court explained that a violation of

the local rules, without any need to find bad faith, supported the sanctions. Burman Decl. ¶ 37(c).

       With the Executive Order, the White House issued a so-called “Fact Sheet.” Ex. 2. The

Fact Sheet attempts to justify the Order by falsely stating that the Firm “pushed debunked claims

of secret Trump-Russia communications via Alfa Bank” which resulted in former Perkins Coie

attorney Michael Sussmann’s being “indicted for lying to the FBI.” Id. at 2. The Fact Sheet does

not mention that a jury in this Court acquitted Mr. Sussmann after just two hours of deliberation

or that Mr. Sussmann left Perkins Coie in 2021. Burman Decl. ¶ 37(a).

       The Fact Sheet states that Perkins Coie “has filed lawsuits against the Trump Administra-

tion, including one designed to reduce military readiness.” Fact Sheet at 2. That appears to refer




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to a pending lawsuit by servicemembers, represented by Perkins Coie, challenging the Executive

Order banning transgender personnel from military service. Burman Decl. ¶ 37(g); see Shilling v.

Trump, Case No. 2:25-cv-00241 (W.D. Wash., filed Feb. 6, 2025).

       C.      The Order Is Already Inflicting Irreparable Harm

       The Executive Order does more than disparage Perkins Coie. It also punishes the Firm

with nothing less than existential sanctions. As relevant to this Motion, Section 3 directs govern-

ment agencies to “require Government contractors to disclose any business they do with Perkins

Coie and whether that business is related to the subject of the Government contract.” EO § 3. The

section further directs agencies to “take appropriate steps to terminate any contract, to the maxi-

mum extent permitted by applicable law, … for which Perkins Coie has been hired to perform any

service”; to “otherwise align their agency funding decisions” with the Administration’s goals, es-

pecially those in the Executive Order itself; and to submit an “assessment of contracts with Perkins

Coie or with entities that do business with Perkins Coie” and “any actions taken with respect to

those contracts.” Id. The accompanying Fact Sheet makes clear that contracts with Perkins Coie’s

clients will, in fact, be terminated: “[T]he Federal Government will prohibit funding contractors

that use Perkins Coie LLP,” and will do so “[t]o ensure taxpayer dollars no longer go to contractors

whose earnings subsidize partisan lawsuits against the United States.” Fact Sheet at 1.

       Many of the Firm’s largest clients (for instance, all of the top 15 largest clients, represent-

ing more than $343 million in 2024 revenue), or their affiliates, have or compete for government

contracts, and the Firm represents many of those clients in legal matters completely unrelated to

government contracting. Burman Decl. ¶¶ 14, 28. Each of Perkins Coie’s nine major practice

groups includes a substantial percentage of clients that do business with the government. Id. ¶ 12.

For some, the fact that the Firm gives them legal advice is not public. Id. ¶ 28. Accordingly, if

implemented, the Order will require these clients to divulge to the government confidential


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information regarding their consultation with counsel, after which the Administration has been

instructed to terminate their government contracts. Id.

       Section 5 directs the heads of “all agencies” to limit the access of Firm attorneys and em-

ployees to federal buildings when access would be “inconsistent with the interests of the United

States” and to limit government employees “from engaging with Perkins Coie employees.” EO

§ 5. It directs agency officials to “refrain from hiring employees of Perkins Coie” absent a waiver

certifying that “such hire will not threaten the national security of the United States.” Id.

       Government officers already have begun implementing Section 5. The day the Order was

released, the Criminal Division of the Department of Justice cited the Order as necessitating post-

ponement of a meeting that was to include a Perkins Coie attorney representing a criminal

defendant. Burman Decl. ¶ 26. The Criminal Division was unable to advise whether that meeting

would ever be rescheduled, threatening that client’s ability to achieve a swift resolution of the

matter. Id. The next day, an official at a federal agency informed a Firm client that Perkins Coie

lawyers should not attend a meeting at that agency to discuss their legal matter. Id. ¶ 25.

       The Order’s branding of Perkins Coie as persona non grata has caused reputational and

financial harm that, if allowed to stand, jeopardizes the very existence of the Firm. In the days

immediately after the Order was issued, multiple clients terminated engagements with Perkins

Coie as a result of the Order, citing their need to be represented by lawyers with whom federal

agencies will engage. Burman Decl. ¶ 29(a)-(h). These immediate and irreparable injuries will

continue to grow by the day given the nature of Perkins Coie’s ongoing legal work and client

roster. A critical mass of key clients sit on a precipice: continued refusals by federal officials to

meet with Perkins Coie lawyers, or refusals to permit Firm lawyers to access federal agencies and

buildings, would devastate both the Firm as a whole and its zealous pursuit of its clients’ interests.




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Burman Decl. ¶ 30. The consequences could be catastrophic: if enough of the firm’s largest clients

leave to protect their government contracts, then the firm could suffer an existential financial crisis.

       By punishing a law firm for its advocacy on behalf of clients whom the President disfavors,

the Executive Order is designed to have a chilling effect extending far beyond Perkins Coie. Dis-

tinguished experts on the legal profession and on lawyers’ professional responsibilities—three of

whose declarations are included with this filing—agree that the Order presents a clear and present

danger to the administration of justice in the United States. As those experts explain, “[t]he quality

of justice in the United States depends in large measure on lawyers’ diligent advocacy of their

clients’ respective positions,” especially for people “whose cause is controversial or the subject of

popular disapproval.” Hirshon Decl. ¶¶ 6-7 (quoting D.C. R. Prof’l C. r. 1.3, Comment [2]). That

is why the Rules of Professional Conduct underscore “the importance of affording legal assistance

to unpopular clients.” Green Decl. at 4. Yet “[r]easonable lawyers will understand the Executive

Order to mean not only that lawyers may suffer government retribution for representing clients in

matters of which the President disapproves for personal or political reasons, but also that they may

be punished for representing clients who challenge the legality of government policies.” Hirshon

Decl. ¶ 10; see also Green Decl. at 5 (opining that the Order “will discourage not only Perkins

Coie but also other law firms from representing future clients and pursuing future actions, and

particularly actions against the Government and other advocacy that the President might disfa-

vor”). Moreover, the Order deters clients from exercising their Constitutional right to select the

counsel of their choosing, and would even deter law school graduates from choosing employment

at law firms that represent clients the President dislikes. Hirshon Decl. ¶¶ 12-13.

       D.      The Executive Order Is Politically Motivated Retribution

       Observers immediately understood that the Executive Order and Fact Sheet are retaliation

for Perkins Coie’s representation of the President’s opponents in the 2016 and 2020 elections and


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of clients who have successfully challenged the President and his allies in court. The Associated

Press wrote that “the actions appear designed not only to settle scores from years past but also to

deter both government officials and private sector workers from participating in new inquiries into

his conduct.” Ex. 3. The New York Times recognized the Order as an “escalation of efforts to

punish groups the President sees as aiding his enemies.” Ex. 4.

       The Order immediately had its intended chilling effect. The Wall Street Journal reported

that law firms are “fearful of taking on a president who hasn’t shied away from punishing his

enemies,” citing “private conversations” with “partners at … leading law firms” who have declined

to act “in part because of retaliation fears.” Ex. 5.; see also id. (“Advocacy groups … say it has

been more difficult to recruit larger firms to help with cases against Trump ….”); id. (quoting

NAACP Legal Defense Fund employee: “Law firms are not as vocal and as zealous”).

       The press and the public rightly recognized the Order as retaliatory because the President

repeatedly promised during his 2024 campaign to retaliate against his perceived political oppo-

nents and the lawyers who represented them. In a June 2024 interview, for example, the President

said, “Look, when this election is over, based on what they’ve done, I would have every right to

go after them ….” Ex. 6. In September 2024, Mr. Trump warned on Truth Social that “WHEN I

WIN, those people that CHEATED will be prosecuted to the fullest extent of the Law. … Please

beware that this legal exposure extends to Lawyers ….” Ex. 7. Since issuing the Order, the Pres-

ident has reiterated his intention to punish firms that represent his perceived political enemies,

stating: “We have a lot of law firms that we are going to be going after.” Ex. 5.

                        LEGAL STANDARD AND REVIEWABLITY

       For the reasons discussed below, Perkins Coie is entitled to a temporary restraining order

enjoining implementation of at least Sections 1, 3, and 5 of the Executive Order. “An application

for a TRO is analyzed using the same factors applicable to a request for preliminary injunctive


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relief.” Harris v. Bessent, 2025 WL 521027, at *2 (D.D.C. Feb. 18, 2025). To obtain such relief,

a plaintiff must show “(1) that he is likely to succeed on the merits, (2) that he is likely to suffer

irreparable harm in the absence of preliminary relief; (3) that the balance of equities tips in his

favor; and (4) that an injunction is in the public interest.” Aamer v. Obama, 742 F.3d 1023, 1038

(D.C. Cir. 2014) (cleaned up). Where “the movant seeks to enjoin the government, the final two

TRO factors … merge.” D.A.M. v. Barr, 474 F. Supp. 3d 45, 67 (D.D.C. 2020).

       There is “no question” that a district court “may review the constitutionality of [an] Exec-

utive Order and grant injunctive relief.” CASA, Inc. v. Trump, 2025 WL 408636, at *1, *4 (D. Md.

Feb. 5, 2025). Indeed, this Court recently has enjoined implementation of Executive Orders that

exceed the President’s statutory or constitutional authority. See, e.g., Doctors for Am. v. Off. of

Pers. Mgmt., 2025 WL 452707, at *10 (D.D.C. Feb. 11, 2025) (granting TRO to prevent agencies

from removing or modifying health-related websites pursuant to executive order); Jones v. Trump,

1:25-cv-00401, Dkt. 28 (D.D.C. Feb. 24, 2025) (granting TRO to prevent implementation of ex-

ecutive order regarding transgender inmates “as to the plaintiff”); see also Doe v. McHenry, 1:25-

cv-00286, Dkt. 44 (D.D.C. Feb. 18, 2025) (granting preliminary injunction of same order).

       The Executive Order is immediately reviewable. As discussed above, the Order already is

being implemented, and the Firm already is feeling its “effects” in a “concrete way.” Nat’l Park

Hosp. Ass’n v. Dep’t of Interior, 538 U.S. 803, 807-08 (2003). The issues raised in this motion

are thus “fit[] … for judicial decision” now. Saline Parents v. Garland, 88 F.4th 298, 306 (D.C.

Cir. 2023); see Susan B. Anthony List v. Driehaus, 573 U.S. 149, 162 (2014) (permitting review

where plaintiff’s conduct was “arguably proscribed” by law); Cooksey v. Futrell, 721 F.3d 226,

240 (4th Cir. 2013) (First Amendment rights “are particularly apt to be found ripe for immediate

protection”). Moreover, “the hardship” to Perkins Coie of “withholding court consideration” until




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some later date would be immense. Saline Parents, 88 F.4th at 306. This case is not “dependent

on contingent future events that may not occur as anticipated, or indeed may not occur at all,”

Trump v. New York, 592 U.S. 125, 131 (2020) (cleaned up)—the harm is unfolding in real time.

       The Order’s boilerplate language that it should be implemented “consistent with applicable

law” is no barrier to review. As other courts have explained, such savings clauses in an executive

order “cannot be given effect when the Court, by rescuing the constitutionality of a measure, would

override clear and specific language” that violates the Constitution. City of San Francisco v.

Trump, 897 F.3d 1225, 1239 (9th Cir. 2018) (challenge to executive order justiciable). Here, the

Order “unambiguously commands action” that is plainly unconstitutional and already being im-

plemented to Perkins Coie’s detriment. Id. at 1240. Permitting an order that distorts the law and

exceeds the President’s authority based on a “consistent with applicable law” carveout would cre-

ate an “intellectual cul-de-sac” and render “judicial review… a meaningless exercise.” Id.

                                         ARGUMENT

I.     PERKINS COIE IS LIKELY TO SUCCEED ON THE MERITS

       A.      The Executive Order Exceeds the President’s Constitutional Authority and
               Violates the Separation of Powers

       Perkins Coie will succeed on its claim that Sections 1, 3 and 5 of the Executive Order

exceed the President’s constitutional authority and violate the separation of powers. The President

has no freestanding authority to regulate private parties, find facts, or impose punishments. Be-

cause the Founders feared “unlimited executive power” and the “abuses and usurpations” of the

King of England, they divided and limited governmental authority. Youngstown Sheet & Tube Co.

v. Sawyer, 343 U.S. 579, 641 (1952) (Jackson, J., concurring); Decl. of Indep. para. 2 (U.S. 1776).

The President’s “executive Power” is paired with his obligation to “take Care that the Laws be

faithfully executed.” U.S. Const. art. II, §§ 1, 3. In other words, his actions must be authorized



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by the Constitution or by statute. Youngstown, 343 U.S. at 585. The President, moreover, cannot

exercise his authority in a way that infringes on the authority of the other two branches. Id. at 587.

Doing so would upend the separation of powers, which “protects the liberty of the individual from

arbitrary power.” Bond v. United States, 564 U.S. 211, 222 (2011).

       The Order—which sanctions a law firm in retaliation for representing clients whom the

President views as political opponents—(1) is divorced from any statutory or constitutional source

of executive power, and (2) invades the judiciary’s constitutional authority.

               1.      No Statutory or Constitutional Authority Supports the Order

       First, it is “black letter law” that the President’s power to issue an executive order “‘must

stem either from an act of Congress or from the Constitution itself.’” Minnesota v. Mille Lacs

Band of Chippewa Indians, 526 U.S. 172, 188-89 (1999) (quoting Youngstown, 343 U.S. at 585).

Courts have not hesitated to hold that an executive order with “no express constitutional or statu-

tory authorization” lacks legal effect. Sioux Tribe of Indians v. United States, 316 U.S. 317, 331

(1942). For example, in Mille Lacs Band, the Supreme Court held that an executive order was

“ineffective to terminate” tribal rights because the President had “no statutory or constitutional

authority” to issue a key provision of the order. 526 U.S. at 193-95. Likewise, district courts have

enjoined executive orders for their lack of any statutory or constitutional authority.2 Indeed, even

when Presidents have cited statutes, courts have struck down orders that went beyond those stat-

utes’ explicit authority.3 In contrast, when courts have upheld executive orders, they have found


2
  See, e.g., Doe v. Trump, 2025 WL 485070, at *1, *16-17 (D. Mass. Feb. 13, 2025) (executive
order on birthright citizenship); CASA, Inc., 2025 WL 408636, at *4 (same); PFLAG, Inc. v.
Trump, 2025 WL 685124, at *24 (D. Md. Mar. 4, 2025) (executive order conditioning federal
funding for medical institutions on denying gender-affirming care).
3
 See, e.g., Nebraska v. Su, 121 F.4th 1, 7-9 (9th Cir. 2024) (statute did not authorize executive
order and implementing rule to raise the minimum wage for federal contractors); Kentucky v.



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an explicit constitutional or statutory basis for the President’s authority. For example, the Supreme

Court upheld President Trump’s “travel ban” because the Immigration and Nationality Act estab-

lished “grounds on which an alien abroad may be inadmissible to the United States” and “delegated

to the President authority to suspend or restrict the entry of aliens in certain circumstances.” Trump

v. Hawaii, 585 U.S. 667, 683 (2018).

       Here, the President does not identify any statutory basis for making the findings in Section

1 or imposing the punishments in Sections 3 and 5. Nor could he: no statute authorizes the Presi-

dent or his executive officers to sanction a law firm for its general representation of clients. The

President thus is exacting retribution against a law firm for representing his political opponents

without even an indication of statutory authority. Put differently, “[t]he President’s order does not

direct that a congressional policy be executed in a manner prescribed by Congress—it [improperly]

directs that a presidential policy be executed in a manner prescribed by the President.” Youngs-

town, 343 U.S. at 588 (emphasis added). In short, there is no “nexus between the” President’s

action “and some delegation of the requisite legislative authority by Congress.” Chrysler Corp. v.

Brown, 441 U.S. 281, 304 (1979).

       Lacking any statutory basis, the Order could survive only if supported by some inherent

executive power. None applies here. Again, the design and effect of the Order is to sanction an

entire law firm because of the alleged conduct of some of its lawyers in representing the President’s

political adversaries years ago. That is not an enumerated Article II power, nor is it a foreign-

affairs power of the type that inheres in the nature of “executive Power.” See, e.g., Seila Law LLC

v. CFPB, 591 U.S. 197, 213 (2020); Zivotofsky ex rel. Zivotofsky v. Kerry, 576 U.S. 1, 32 (2015).



Biden, 23 F.4th 585, 589, 606 (6th Cir. 2022) (statute did not support vaccine mandate for federal
contractors); Georgia v. President of the U.S., 46 F.4th 1283, 1298 (11th Cir. 2022) (same).


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Neither is it consistent with “executive practice, long pursued to the knowledge of the Congress

and never before questioned,” that helps define the limits of presidential power. See Youngstown,

343 U.S. at 610 (Frankfurter, J., concurring); accord United States v. Midwest Oil Co., 236 U.S.

459, 473-74 (1915).

       Instead, as discussed below, the power to sanction lawyers for professional misconduct

rests with the judicial branch. As Prof. Green of Fordham Law School explains, the “Order is

inconsistent with, and interferes with, settled understandings of the separation of powers and, in

particular, judicial regulation of the legal profession.” Green Decl. at 1. The Order’s “form of

regulation by presidential whim … threatens to undermine the judicial regulation that requires

lawyers to represent clients zealously and not to subordinate clients’ interests to lawyers’ own self-

interest.” Id. at 6 (emphasis added). Indeed, the Executive Branch could not fairly discipline

lawyers who represent clients in opposition to prosecutors, executive officials, and agencies. Id.

at 3. Although the Executive plays a role in effectuating the judiciary’s judgments, the President

cannot render and execute his own judgments, just as he cannot unilaterally make and enforce his

own laws. Youngstown, 343 U.S. at 587. In no sense is punishing lawyers for their representation

of clients among the President’s “core constitutional powers” or even within the “outer perimeter”

of those powers. Trump v. United States, 603 U.S. 593, 614, 642 (2024).

               2.      The Executive Order Improperly Usurps Judicial Power

       In addition to lacking any statutory or constitutional basis, the Executive Order tramples

the separation of powers by asserting fundamentally judicial authority. “If there is a principle in

our Constitution … more sacred than another, it is that which separates the legislative, executive

and judicial powers.” Myers v. United States, 272 U.S. 52, 116 (1926) (cleaned up). The power

to sanction attorneys for their conduct in representing clients always has belonged to the judiciary.

The President’s order transparently usurps that authority, without any of the procedural protections


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accompanying the judicial process.

       The power to sanction lawyers for their professional conduct has always been held by

judges. Federal and state courts have residual, inherent powers to regulate the practice of law. See

Chambers v. NASCO, Inc., 501 U.S. 32, 43 (1991). In federal court, “[t]hat authority includes the

ability to fashion an appropriate sanction for conduct which abuses the judicial process.” Good-

year Tire & Rubber Co. v. Haeger, 581 U.S. 101, 107 (2017) (cleaned up). State courts (and state

bars under delegated authority) also determine whether lawyers have complied with their profes-

sional obligations. See, e.g., Kohn v. State Bar, 87 F.4th 1021, 1050-51 (9th Cir. 2024) (en banc).

Legislatures too can regulate the practice of law by enacting rules of conduct, but the authority to

impose sanctions for violating those rules rests with the judiciary. Just as a legislature cannot

intrude upon the judicial power, see Marbury v. Madison, 5 U.S. (1 Cranch) 137, 177 (1803), the

President cannot arrogate to himself powers traditionally exercised by other branches. Nor may

the President assume powers traditionally held by states. Cf. Bond v. United States, 572 U.S. 844,

857 (2014) (federal statutes presumed not to intrude upon traditional areas of state authority).

       More broadly, the Order unlawfully exercises judicial power by making factual findings

that the Firm engaged in purported misconduct and then punishing the Firm based on those find-

ings. In cases involving private rights of liberty, property, and contract, the Judiciary—not the

Executive—makes those determinations. See Granfinanciera, S.A. v. Nordberg, 492 U.S. 33, 54-

56 (1989); see also United States v. Bear, 769 F.3d 1221, 1230 (10th Cir. 2014); cf. SEC v. Jarkesy,

603 U.S. 109, 140 (2024) (the Constitution prohibits the “concentrat[ion of] the roles of prosecutor,

judge, and jury in the hands of the Executive Branch”). In Section 1 of the Order, however, the

President makes various (false or misleading) findings about the Firm’s representation of the Pres-

ident’s 2016 opponent and other clients, as well as its advocacy and hiring practices. And in




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Sections 3 and 5, the President purports to penalize that conduct by, among other things, forcing

the Firm’s clients to disclose their attorney-client relationships with the Firm, stripping those cli-

ents of their government contracts, limiting the Firm’s access to government buildings and ability

to interact with government personnel to practice law, and presumptively barring Firm employees

from government employment.

       The Executive Order does all this in a way that the judiciary could not—by pronouncing

judgment without any notice, opportunity to be heard, or neutral evaluation of the evidence. In

Joint Anti-Fascist Refugee Committee v. McGrath, 341 U.S. 123, 126 (1951), the Supreme Court

condemned the notion that the Attorney General could lawfully designate groups as “subversive”

“without notice, … without opportunity to meet the undisclosed evidence[,] … and without op-

portunity” to object. Id. at 161 (Frankfurter, J., concurring). Yet that is precisely what the

Executive Order does. The President’s order is thus a stunning combination of (1) an adjudication

of facts to support a restriction of private rights and (2) no process whatsoever.4 The Executive

finds the facts he deems impermissible and pronounces them, full stop.

       The Executive Order’s invasion of the judicial function is clear from the fact that the federal

courts already have adjudicated the President’s grievances referenced in the Order. For example,

the Fifth Circuit (after a hearing) already ruled upon the alleged “lack of candor” referenced in the

Executive Order. See Tex. All. for Retired Ams. v. Hughs, No. 20-40643 (5th Cir.). A federal court

already heard (and a jury acquitted) former Perkins Coie partner Michael Sussmann for allegedly

lying to the FBI. See United States v. Sussmann, No. 1:21-cr-582 (D.D.C.). And a federal court

already dismissed a civil suit brought by Mr. Trump in his personal capacity against the Firm and



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  Worse still, the Order seeks to punish the Firm for its (successful) courtroom advocacy in elec-
tion-related matters, advocacy which was protected at common law by “absolute privilege.”
Oparaugo v. Watts, 884 A.2d 63, 79 (D.C. 2005).

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others. See, e.g., Trump v. Clinton, 626 F. Supp. 3d 1264 (S.D. Fla. 2022) (appeal pending). Ap-

parently dissatisfied with these court rulings and with the due process enshrined in the

Constitution, the President takes matters into his own hands. The Constitution forbids this.

       Indeed, the President’s purported “Executive Order” amounts to the equivalent of a bill of

attainder. Under Article I, Congress may not enact “bills of attainder,” acts by which Parliament

“named” a particular individual “considered disloyal to the … State” and unilaterally imposed a

“wide array of punishments,” including “the punitive confiscation of property.” Nixon v. Adm’r

of Gen. Servs., 433 U.S. 425, 473-74 (1977); see also U.S. Const. art. I, § 9. The prohibition on

such acts was “an important ingredient of the doctrine of ‘separation of powers,’ one of the organ-

izing principles of our system of government[,] … [and] an important ‘bulwark against tyranny.’”

Nixon, 433 U.S. at 469-71 (quoting United States v. Brown, 381 U.S. 437, 442-43 (1965)). In

essence, that prohibition prevents Congress from usurping the judiciary’s power to impose pun-

ishments that deprive individuals of private rights.

       The Executive Order shares the essential features of a bill of attainder: it is a “special” act

“prescribing punishment, without a trial, for a specific person or group.” Bill of Attainder, Black’s

Law Dictionary (12th ed. 2024). To be sure, the Bill of Attainder Clause, by its terms, does not

apply to the Executive Branch. See Korte v. Off. of Pers. Mgmt., 797 F.2d 967, 972 (Fed. Cir.

1986). But the fact that the Executive Order is indistinguishable from a bill of attainder under-

scores its unconstitutionality. Just as Congress may not usurp the judicial role by passing

legislation depriving individuals of private rights, neither may the President do so through execu-

tive fiat. See Joint Anti-Fascist Refugee Comm., 341 U.S. at 144 (Black, J., concurring). Indeed,

the President has significantly less authority to announce new measures as compared to Congress’s

power to enact legislation. See Biden v. Nebraska, 600 U.S. 482, 503 (2023). Yet the President




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has taken it upon himself to “pronounce[] upon the guilt of [Perkins Coie] … in accordance [solely]

with [the President’s] own notions.” Cummings v. Missouri, 71 U.S. (4 Wall.) 277, 323 (1866).

Presidents have no such power in a system where “separating and dividing the powers of govern-

ment … was to diffuse power the better to secure liberty.” See Bowsher v. Synar, 478 U.S. 714,

721 (1986) (cleaned up).

       To be clear, these flaws in the Executive Order are not about which person or party controls

the White House. Regardless of who fills the office of President, this Court has an obligation to

preserve the separation of powers and the individual liberty it was designed to protect. Because

Sections 1, 3, and 5 of the Executive Order have no basis in any statute or the Constitution itself,

this Court should enter a TRO enjoining their implementation.

       B.      The Executive Order Violates the First Amendment

       Perkins Coie also will succeed in demonstrating that the Executive Order violates the First

Amendment by (1) retaliating against the Firm and its clients for their actual and perceived exercise

of speech and associational rights and (2) discriminating against the Firm on the basis of viewpoint.

       As is well known, the President filed more than 60 lawsuits challenging the results of the

2020 election. Perkins Coie successfully defended many of those lawsuits—prevailing in all but

one. In response, the President publicly and repeatedly stated his intention, if re-elected, to retal-

iate against those who opposed his election claims, including the lawyers who represented those

persons. He made that threat early and often during the 2024 campaign, for example telling his

nearly four million Truth Social followers, “WHEN I WIN, those people that CHEATED will be

prosecuted to the fullest extent of the Law. … [T]his legal exposure extends to Lawyers.” Ex. 7.

The Order fulfills that repeated threat.

       The Order openly targets the Firm, branding it as a “partisan actor” and charging it with “a

pattern” of “egregious activity,” such as bringing “partisan lawsuits,” associating with “activist


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donors,” and seeking “to judicially overturn popular, necessary, and democratically enacted elec-

tion laws.” And it punishes Perkins Coie and its clients for these perceived transgressions by

ordering agencies to, among other things, (i) deny all Firm employees access to federal buildings

and engagement with federal employees and (ii) terminate government contracts with any firm

clients. Such clear retaliation against the Firm and its clients violates the First Amendment.

               1.      The Executive Order Retaliates in Violation of the First Amendment

       The First Amendment “prohibits government officials from subjecting individuals to ‘re-

taliatory actions’ after the fact for having engaged in protected speech.” Hous. Cmty. Coll. Sys. v.

Wilson, 595 U.S. 468, 474 (2022) (quoting Nieves v. Bartlett, 587 U.S. 391, 398 (2019)) (cleaned

up). That principle applies just as strongly when the government’s “retaliatory response” is based

not upon a person’s own speech, but the speech of “a person in a close relationship with the plain-

tiff, and the government retaliated against the plaintiff for [its] perceived association with the other

person and that person’s speech.” Lewis v. Eufaula City Bd. of Educ., 922 F. Supp. 2d 1291, 1302

(M.D. Ala. 2012) (collecting cases); see also Hughes v. City of New York, 680 F. App’x 8, 10 (2d

Cir. 2017) (summary order) (retaliating based on “‘perceived’ association” violates First Amend-

ment); Turner v. U.S. Agency for Glob. Media, 502 F. Supp. 3d 333, 381 (D.D.C. 2020) (retaliating

“on the basis of perceived viewpoint” violates First Amendment); see generally Heffernan v. City

of Paterson, N.J., 578 U.S. 266, 272-73 (2016).

       The Executive Order retaliates against the Firm and its clients for the Firm’s own speech,

for association with clients and their speech, and for the clients’ speech. The Order does not stop

at simply criticizing Perkins Coie for its allegedly “partisan” speech and associational activity in

the public square; it imposes draconian punishments. Such reprisal clearly violates the First

Amendment. Like the compilation and publication of enemies lists in the McCarthy era, the Order

“smacks of a most evil type of censorship” and “cannot be reconciled with the First Amendment.”


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Joint Anti-Fascist Refugee Comm., 341 U.S. at 143-44 (Black, J., concurring). Where, as here,

retaliation against a disfavored viewpoint is the motive, that ends the inquiry. See Perry v. Sin-

dermann, 408 U.S. 593, 597-98 (1972); Nat’l Ass’n of Diversity Officers in Higher Educ. v. Trump,

2025 WL 573764, at *15 (D. Md. Feb. 21, 2025).

       The Order’s retaliatory motive is reflected in its stunning breadth. First, the sanctions

apply to every one of the more than 2,400 lawyers and employees of Perkins Coie—both now and

going forward—even though the lawyers who led the alleged “partisan” speech and activity have

not worked at the Firm for years. The President therefore does not justify the Order based on a

desire to address “[r]isks” associated with particular persons responsible for particular conduct;

instead, the Order collectively punishes Perkins Coie employees for the Firm’s past association

with lawyers who have left the Firm. Second, the sanctions apply even though the speech and

activity occurred years ago, almost a decade ago in the case of the 2016 campaign, and more than

four years ago in the case of challenges to the 2020 election results. Third, the sanctions apply to

persons who are not lawyers. Section 5 directs agency officials to “refrain from hiring employees

of Perkins Coie” to the extent permitted by law—a provision that applies to secretaries, IT spe-

cialists, docketing clerks, and every one of the Firm’s other approximately 1,200 non-lawyer

personnel. And Section 3 threatens severe sanctions for another category of non-lawyers—clients

of the Firm. See Sec’y of State of Md. v. Joseph H. Munson Co., 467 U.S. 947, 955-58 (1984)

(“when there is a danger of chilling free speech,” aligned third parties with injuries have standing

to raise challenges); see also U.S. Dep’t of Lab. v. Triplett, 494 U.S. 715, 720 (1990) (applying to

lawyers). As the Fact Sheet states bluntly, “To ensure taxpayer dollars no longer go to contractors

whose earnings subsidize partisan lawsuits against the United States, the Federal Government will

prohibit funding contractors that use Perkins Coie LLP.” Fact Sheet ¶ 1.




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               2.      The Executive Order Constitutes Viewpoint Discrimination

       Even if the Executive Order did not reek of retaliatory motive, it still would violate the

First Amendment because it discriminates against Perkins Coie for its expressive and associative

activities and those of its clients. The Order complains of the clients the Firm has taken (including

Hillary Clinton); the consultants it has retained (including Fusion GPS); the persons who have

funded allegedly “partisan” lawsuits (including “activist donors [such as] George Soros”); and the

legal positions the Firm has advocated (including the alleged “judicial[] overturn[ing] of popular,

necessary, and democratically enacted election laws”). The Fact Sheet decries that “Perkins Coie

LLP has filed lawsuits against the Trump Administration,” and, more specifically, that it filed a

lawsuit “designed to reduce military readiness,” Fact Sheet ¶ 2—a misdescription of a case brought

by Firm clients challenging an Executive Order that would discharge transgender military person-

nel. In doing so, the Order and Fact Sheet attribute to the Firm the speech and views of its clients,

consultants, and associates, and then punish the Firm and other clients for those viewpoints.

       Such speaker- and viewpoint-based sanctions constitute a “blatant and egregious form of

content discrimination” subject to strict scrutiny. Reed v. Town of Gilbert, 576 U.S. 155, 168-71

(2015) (quoting Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 829 (1995)).

Where government regulation is viewpoint discriminatory, that “is ‘all but dispositive’ in a First

Amendment challenge.” Nat’l Ass’n of Diversity Officers, 2025 WL 573764, at *15 (quoting Sor-

rell v. IMS Health Inc., 564 U.S. 552, 571 (2011)).          It is dispositive because “viewpoint

discrimination is uniquely harmful to a free and democratic society.” Nat’l Rifle Ass’n v. Vullo,

602 U.S. 175, 187 (2024). That principle dooms the Order because, as the Supreme Court under-

scored in Vullo, “the First Amendment prohibits government officials from relying on ‘the threat

of invoking legal sanctions and other means of coercion … to achieve the suppression’ of disfa-

vored speech.” Id. at 176 (emphasis added).


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       Viewpoint discrimination is particularly egregious when it involves political speech, par-

ticularly speech about the rules that govern democratic elections, or when speech involves the

presentation to the courts of reasonable legal arguments. As the Supreme Court explained in Legal

Services Corp. v. Velazquez, which concerned regulations purporting to prevent Legal Services

lawyers from challenging welfare laws, attempts to “draw lines around” those arguments that the

government “finds unacceptable but which by their nature are within the province of the courts to

consider” violate the First Amendment. 531 U.S. 533, 546, 548-49 (2001). That the Order targets

a law firm for its clients’ legitimate use of the courts makes it all the more obviously unconstitu-

tional: The President simply does not like the results of judicial decisions won by the Firm’s clients

with the Firm’s assistance.

       Strict scrutiny requires the government to prove that the Order “furthers a compelling in-

terest and is narrowly tailored to achieve that interest.” Reed, 576 U.S. at 171 (cleaned up). The

government cannot come close to meeting that demanding test for the simple reason that purport-

edly “partisan” speech and litigation by a handful of attorneys who no longer work for Perkins

Coie cannot justify punishing the entire firm, including all its non-lawyer employees, and its many

clients that have government contracts. Nor can the government show a compelling interest when

the legal authority for sanctioning alleged professional misconduct resides with the judicial branch,

not the executive. Supra pp.15-16.5 To the extent the President disagrees with the legal positions

advanced by Perkins Coie, he has already sought redress in the proper forum—the courts—and

lost. Trump, 626 F. Supp. 3d 1264 (appeal pending).

       For the same reasons, the Order is not narrowly tailored: it lacks any “precision of



5
 The former Perkins Coie lawyers whom the Order refers to as displaying a “lack of candor before
the court,” EO § 1, already have been sanctioned in the courts, Tex. All. for Retired Ams. v. Hughs,
No. 20-40643 (5th Cir. Jun. 30, 2021), Dkt. No. 127-1.

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regulation,” a fatal defect when “political expression or association is at issue.” In re Primus, 436

U.S. 412, 434 (1978). The Order, for example, threatens the termination of all government con-

tracts held by any clients of Perkins Coie, where the only rationale for this far-reaching and drastic

punishment is that government payments to contractors may “subsidize partisan lawsuits.” Fact

Sheet ¶ 1. And there is no narrow tailoring in Section 5, which calls for “limiting Government

employees … from engaging with Perkins Coie employees.” Even if there were a legitimate basis

for limiting engagement with those lawyers who “filed lawsuits against the Trump Administra-

tion,” Fact Sheet ¶ 2, (there is not), there would be no lawful basis, for example, for limiting the

access of the Firm’s patent lawyers to the Patent & Trademark Office in the more than 1,000 active

matters, Berman Decl. ¶ 15, or limiting the access of any firm lawyer to a federal courthouse or

adjudicative agency.6 When the government provides a forum, it “ordinarily may not exclude

speech or speakers from the forum on the basis of viewpoint,” regardless of the type of forum.

E.g., Rosenberger, 515 U.S. at 829; Lamb’s Chapel v. Ctr. Moriches Union Free Sch. Dist., 508

U.S. 384, 393-94 (1993). For all these reasons, the Order violates the First Amendment.

       C.      The Executive Order Violates Perkins Coie’s Right to Due Process

       Perkins Coie also will prevail on its due process claim. The Due Process Clause guarantees

that “no person shall … be deprived of life, liberty, or property, without due process of law.” U.S.

Const. amend. V. The clause “is implicated” whenever the government imposes “civil penalties.”

BMW of N. Am., Inc. v. Gore, 517 U.S. 559, 574 n.22 (1996) (emphasis omitted). Executive

Branch “findings of wrongdoing” that carry legal consequences and “could have an adverse impact

on [an entity’s] reputation” qualify as “sanctions” that trigger the “essential … protection[ ]” of


6
  Barring access to a federal courthouse would be particularly egregious, both because doing so
would violate the separation and powers and because the First Amendment right to petition the
government for redress of grievances guarantees access to the courts. See, e.g., Borough of Duryea
v. Guarnieri, 564 U.S. 379, 387 (2011).

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“fair notice.” FCC v. Fox Television Stations, Inc., 567 U.S. 239, 253, 254, 256 (2012).

        At its core, due process mandates that a person facing a government sanction receive both

“notice of the case against him” and an “opportunity to be heard at a meaningful time and in a

meaningful manner.” Mathews v. Eldridge, 424 U.S. 319, 333, 348 (1976) (cleaned up). Courts

apply a “familiar two-part inquiry:” (1) whether the plaintiff faces a deprivation of a protected

property or liberty interest, and, if so, (2) whether that plaintiff has received the process that is due.

Logan v. Zimmerman Brush Co., 455 U.S. 422, 428 (1982). Under that test, the Firm will succeed

on its due process claim.

                1.      The Order Deprives Perkins Coie of Liberty and Property Interests

        Protected “liberty” interests include “not merely freedom from bodily restraint but also the

right of the individual to contract, to engage in any of the common occupations of life, … and

generally to enjoy those privileges long recognized as essential to the orderly pursuit of happiness.”

Bd. of Regents of State Colls. v. Roth, 408 U.S. 564, 572 (1972) (cleaned up). Here, the Order (a)

deprives the Firm and its attorneys of the right to follow their chosen profession, (b) harms the

Firm’s reputation, (c) vitiates the Firm’s right to petition the government; and (d) interferes with

its constitutionally protected property interests.

        a.      The Constitution safeguards the right to “follow a chosen profession free from un-

reasonable governmental interference.” Campbell v. District of Columbia, 894 F.3d 281, 288

(D.C. Cir. 2018) (cleaned up); see Schware v. Bd. of Bar Exam., 353 U.S. 232, 238-39 (1957)

(government “cannot exclude a person from the practice of law or from any other occupation in a

manner or for reasons that contravene the [due process clause]”). That interest is implicated when

government “direct[ly] and unambiguous[ly]” interferes with a private party’s professional rela-

tionships. Mead v. Indep. Ass’n, 684 F.3d 226, 232 (1st Cir. 2012). The Order does just that. It

requires all federal contractors to disclose “any business they do with Perkins Coie” and then


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orders agency officials to review those contracts and “take appropriate steps to terminate any con-

tract, to the maximum extent permitted by applicable law.” EO § 3. Or, as the Fact Sheet states,

“the Federal Government will prohibit funding contractors that use [the Firm].” Fact Sheet at 1.

The stated aim and obvious effect of Section 3 is to force the Firm’s many government-contractor

clients to end their relationships with the Firm. Hirshon Decl. ¶ 12. This pressure on current

clients to disassociate from the Firm, and on potential clients to avoid associating with the Firm

altogether, plainly interferes with the Firm’s liberty interest. Burman Decl. ¶¶ 28-32.

       The Executive Order also limits the Firm’s and its employees’ liberty to pursue their chosen

profession by impairing its ability to provide legal services. That liberty interest is implicated

whenever (1) the government “formally or automatically exclude[s an entity] from some category

of work,” or (2) where the government’s action has “the broad effect of largely precluding [the

entity] from pursuing [its] chosen career.” Campbell, 894 F.3d at 289 (cleaned up); see Kartseva

v. Dep’t of State, 37 F.3d 1524, 1528 (D.C. Cir. 1994).

       The Firm satisfies both standards. As the D.C. Circuit routinely holds, the government

formally excludes private parties from future work by depriving them of the “right to be considered

for government contracts in common with all other persons.” Gen. Elec. v. Jackson, 610 F.3d 110,

121 (D.C. Cir. 2010) (quoting Doe v. DOJ, 753 F.2d 1092, 1108-09 (D.C. Cir. 1985)); see

Kartseva, 37 F.3d at 1528. Here, the Order explicitly directs agencies to “terminate” any contract

“for which Perkins Coie has been hired to perform any service.” EO § 3(b)(i).

       In addition, the obvious purpose and effect is to prevent the Firm’s lawyers from doing the

work necessary to provide effective legal representation to clients. Section 5(a) purports to deny

the Firm “access [to] Federal Government buildings,” such as offices of administrative agencies,

and prevents it from “engaging with” “Governmental employees” such as prosecutors, civil




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enforcement staff, investigators, and court staff. EO § 5(a). Read literally, the Executive Order

would even prevent the Firm’s lawyers from attending hearings, arguing motions and appeals,

trying cases, appearing before administrative agencies, engaging with regulators, negotiating with

prosecutors, and resolving cases—in other words, from effectively representing clients in matters

involving the federal government or federal issues. While the Order cannot constitutionally bar

the courthouse door to Perkins Coie lawyers, its sweeping prohibitions at minimum “seriously

affect” Perkins Coie’s ability to pursue its chosen profession. See Campbell, 894 F.3d at 289;

Burman Decl. ¶¶ 11-20, 25-33.

       b.      The Order and Fact Sheet also deprive the Firm of its liberty interest in its reputa-

tion. “Where a person’s good name, reputation, honor, or integrity is at stake because of what the

government is doing to him, notice and an opportunity to be heard are essential.” Wisconsin v.

Constantineau, 400 U.S. 433, 437 (1971). To establish a cognizable reputational interest, Perkins

Coie need only demonstrate that the government “issues a stigmatizing posting (or designation)”

that “deprive[s Perkins Coie] of a right previously held under state law.” Nat’l Counsel of Re-

sistance of Iran v. Dep’t of State, 251 F.3d 192, 204 (D.C. Cir. 2001) (quoting Paul v. Davis, 424

U.S. 693, 708 (1976)). Thus, the D.C. Circuit has held that plaintiffs’ liberty interests were impli-

cated when they were designated as “foreign terrorist organizations” and when that designation

deprived them of their rights to, inter alia, hold bank accounts. Id. at 205; Constantineau, 400

U.S. at 434, 437 (stigmatizing statements combined with deprivation of right to buy alcohol); Goss

v. Lopez, 419 U.S. 565, 574-75 (school suspension).

       The Order and Fact Sheet besmirch the Firm’s reputation directly and repeatedly. The

Order describes Perkins Coie as “dishonest and dangerous” and levels numerous unfounded alle-

gations, including that it “manufactured a false ‘dossier’ designed to steal an election,” engaged in




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a “pattern” of “egregious activity,” “undermin[ed] democratic elections” and “integrity of [the]

courts, and honest law enforcement,” “racially discriminates against its own attorneys and staff,”

“maintain[s] … discriminatory practices,” and “engage[s] in blatant race-based and sex-based dis-

crimination.” EO § 1. The Fact Sheet adds that the Administration “will not tolerate [the Firm’s]

unethical and discriminatory actions.” Fact Sheet at 1. The Order also indirectly tarnishes the

Firm’s reputation by suggesting that it cannot be trusted to enter federal buildings or talk to gov-

ernment employees. Those same restrictions deny the Firm rights to which it otherwise would be

entitled, and which every citizen enjoys. EO §§ 3, 5. This change in status infringes a cognizable

liberty interest. See, e.g., Constantineau, 400 U.S. at 437; Burman Decl. ¶¶ 24-37.

       c.      The Order independently deprives the Firm of its “liberty interest in [its] First

Amendment right to petition the government.” Trentadue v. Integrity Comm., 501 F.3d 1215,

1236-37 (10th Cir. 2007); Arnaud v. Odom, 870 F.2d 304, 311 (5th Cir. 1989); see NAACP v.

Button, 371 U.S. 415, 429 (1963). This protected right to petition “extends to all departments of

the Government,” including courts. Cal. Motor Transp. Co. v. Trucking Unlimited, 404 U.S. 508,

510 (1972); Broudy v. Mather, 460 F.3d 106, 117 & n.6 (D.C. Cir. 2006). The Order facially

deprives that right by purporting to restrict access to courthouses, a clear constitutional violation.

       d.      Finally, the Order injures the Firm’s valuable interests in its contractual relation-

ships with its clients. “The Supreme Court has recognized that property interests protected by the

Fifth Amendment may be created by virtue of purely private contractual agreements.” Int’l Union,

United Auto., Aerospace & Agric. Implement Workers of Am. v. Auto Glass Emps. Credit Union,

72 F.3d 1243, 1250 (6th Cir. 1996) (citing, e.g., Greene v. McElroy, 360 U.S. 474, 492 (1959));

see also Stein v. Bd. of N.Y.C. Bureau of Pupil Transp., 792 F.2d 13, 17 (2d Cir. 1986). As ex-

plained above, the Order represents an unprecedented effort to undermine the Firm’s client




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relationships. This is an equally significant deprivation of liberty.

               2.      The Executive Order Was Issued Without Notice or A Hearing

       “[L]aws which regulate persons or entities must give fair notice of conduct that is forbidden

or required,” Fox Television, 567 U.S. at 253, as well as notice of “the severity of the penalty that

[the government] may impose,” Gore, 517 U.S. at 574. “This requirement of clarity in regulation

is essential to the protections provided by the Due Process Clause of the Fifth Amendment.” Fox

Television, 567 U.S. at 253. And to be “constitutionally sufficient,” notice should be provided

“prior to [a person’s] being sanctioned.” Id. at 257 (emphasis added).

       The Firm was not given prior notice that its conduct would trigger executive sanctions, and

the Order does not identify any law that the Firm allegedly violated. The Firm only learned of the

Order’s existence when the President issued it on March 6. Perkins Coie never received a chance

to challenge the imposition of sanctions before the Order took effect. As a result, the Firm was

deprived of “an opportunity to speak up in [its] own defense.” Fuentes v. Shevin, 407 U.S. 67, 81

(1972). It could not rebut the government’s defamatory assertions (such as the claims that the

Firm “manufactured” false evidence or “engages in blatant discrimination”) or explain why, even

if any of those false allegations were true, the punishment was inappropriate and disproportionate.

       The Order’s perfunctory references to “risk” and “national security” do not absolve the

government of its due process obligations. Courts have routinely found that, even when national

security interests are genuinely implicated (not the case here) at least some notice and process is

required before the government may impair a protected liberty interest or brand an individual or

entity with a stigmatizing label.7 Perkins Coie received no process at all. See Burman Decl. ¶ 24.


7
  See Hamdi v. Rumsfeld, 542 U.S. 507, 533 (2004) (plurality opinion) (“[A] citizen-detainee seek-
ing to challenge his classification as an enemy combatant must receive notice of the factual basis
for his classification, and a fair opportunity to rebut the Government’s factual assertions before a



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       Any claim to deference based on national security considerations, moreover, cannot ignore

the significant interests that weigh against the punishments meted out by the Order. Where the

government’s penalties “threaten[] to inhibit the exercise of constitutionally protected rights[,] ...

a more stringent vagueness [and fair-notice] test should apply.” 112 Vill. of Hoffman Est. v. Flip-

side, Hoffman Est., Inc., 455 U.S. 489, 498-99 (1982).            Because core “first amendment

guarantee[s]” are implicated, the decision to punish Perkins Coie cannot be made “arbitrarily or

for less than compelling reasons.” Sherrill v. Knight, 569 F.2d 124, 129 (D.C. Cir. 1977). As

explained above, the Order was issued based on a patently impermissible desire to punish Perkins

Coie for its association with clients the President perceives as political opponents or personal en-

emies, and whose positions he attributes to the Firm. That improper and arbitrary motive further

underscores the likelihood of success on the merits.

               3.      The Executive Order Is Impermissibly Vague

       The Order’s intentional vagueness creates an independent due process problem. A federal

law is unconstitutionally vague and thus violates due process if it “fails to provide a person of

ordinary intelligence fair notice of what is prohibited, or is so standardless that it authorizes or

encourages seriously discriminatory enforcement.” United States v. Williams, 553 U.S. 285, 304

(2008) (citation omitted). The Order suffers from both defects. It leaves key provisions undefined.

For example, the “Personnel” provision is so broad that Perkins Coie and its clients do not know

the full set of circumstances under which the Firm will be barred from “engaging with” govern-

ment employees. Similarly, the Order’s repeated references to the “interests of the United States”

and the “goals and priorities” of the Administration leave Defendants free to pick and choose how


neutral decision-maker.”); Joint Anti-Fascist, 341 U.S. at 165-74 (Frankfurter, J., concurring) (due
process requires notice and hearing for an organization slated to be designated as “Communist”);
National Council of Resistance of Iran, 251 F.3d at 201, 208-09 (designating an entity a “foreign
terrorist organization” without adequate notice or hearing violated due process).

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they will enforce the Order. The Order thus “impermissibly delegates basic policy matters to

[Defendants] for resolution on an ad hoc and subjective basis, with the attendant dangers of arbi-

trary and discriminatory application.” Grayned v. City of Rockford, 408 U.S. 104, 108-09 (1972);

see also Humanitarian Law Project v. U.S. Dep’t of Treasury, 463 F. Supp. 2d 1049, 1070 (C.D.

Cal. 2006) (executive order that “lends itself to subjective interpretation” was unconstitutional).

       D.      The Executive Order Violates Sixth Amendment and Due Process Rights to
               Counsel

       Perkins Coie also will succeed in its Sixth Amendment and due process right-to-counsel

claims. “In all criminal prosecutions, the accused shall enjoy the right … to have the Assistance

of Counsel.” U.S. Const. amend. VI. That includes both “the right to the effective assistance of

counsel,” Strickland v. Washington, 466 U.S. 668, 686 (1984) (quotation omitted), and the “right

to choose one’s own counsel,” Wheat v. United States, 486 U.S. 153, 159 (1988). The same prin-

ciple extends to civil cases, where clients have due process liberty and property interests in their

contractual relationships, including with counsel. Supra p.28. As discussed below, lawyers have

standing to challenge the government’s invasion of their attorney-client relationships and thus to

protect their clients’ right to counsel. Perkins Coie represents individuals and entities being inves-

tigated and prosecuted by the government, and hundreds of clients in other matters involving the

government. The Order’s interference with those clients’ right to counsel cannot stand.

       But the Order is not only an assault on the Firm and its clients. It is a reckless assault on

the criminal justice system and the rule of law. The constitutional right to counsel is “fundamental”

because criminal defense lawyers are essential “to assure fair trials before impartial tribunals in

which every defendant stands equal before the law.” Gideon v. Wainwright, 372 U.S. 335, 344

(1963). Without criminal defense counsel, “justice will not still be done.” Id. at 343 (cleaned up).

The Firm’s right-to-counsel claims are substantial.



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               1.      Perkins Coie Has Standing To Challenge These Violations

       There is no question that the Firm has constitutional standing to challenge the Executive

Order’s infringement of its clients’ right to counsel. Defendants’ violations have caused, and will

continue to cause, “concrete injury in fact” to the Firm’s livelihood and its constitutional obligation

to provide effective counsel to those who choose it; restraining and striking the Order would re-

dress those harms. TransUnion LLC v. Ramirez, 594 U.S. 413, 425 (2021).

       In addition, lawyers have prudential, third-party standing to challenge violations of their

clients’ Sixth Amendment or due process rights to counsel that interfere with the lawyers’ practice.

Caplin & Drysdale, Chartered v. United States, 491 U.S. 617, 624 n.3 (1989); Triplett, 494 U.S.

at 720. In particular, because an attorney’s duty to provide effective counsel “may not be fettered

by harassment of government officials,” a lawyer has “standing to challenge any act which inter-

feres with his professional obligation to his client and thereby, through the lawyer, invades the

client’s constitutional right to counsel.” Wounded Knee Legal Def./Offense Comm. v. Fed. Bureau

of Investigation, 507 F.2d 1281, 1284 (8th Cir. 1974); accord Fed. Defs. of N.Y., Inc. v. Fed. Bu-

reau of Prisons, 954 F.3d 118, 126 (2d Cir. 2020). Because the Firm represents criminal

defendants and others in dealings with the government, it has standing to challenge the Order’s

attempted interference with its clients’ rights to counsel.

               2.      The Executive Order Violates Bedrock Sixth Amendment Rights

       The Executive Order will violate criminal defendants’ Sixth Amendment rights to effective

counsel and to counsel of their choice. That already has begun.

       First, by attempting to “interfere[] with [Perkins Coie’s] professional obligation[s]” to its

criminal defense clients, the Order infringes upon those defendants’ rights to effective counsel.

Wounded Knee, 507 F.2d at 1284. The Order directs “[t]he heads of all agencies”—including the

Department of Justice—to “limit[] Government employees acting in their official capacity from


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engaging with Perkins Coie employees” and “limit[] official access from Federal Government

buildings to employees of Perkins Coie.” EO § 5(a). The Order threatens to prevent Perkins Coie

attorneys from performing the vast array of legal tasks that require interacting with government

employees or visiting government buildings, ranging from conferring on discovery and procedural

matters to negotiating plea agreements to attending meetings and hearings. “[T]he right to ade-

quate assistance of counsel cannot be defined or enforced without taking account of the central

role plea bargaining plays in securing convictions and determining sentences.” Lafler v. Cooper,

566 U.S. 156, 170 (2012); see also Padilla v. Kentucky, 559 U.S. 356, 373 (2010) (plea negotia-

tions are “a critical phase of litigation for purposes of the Sixth Amendment right to effective

assistance of counsel”). Plea agreements, in particular, routinely require substantive, intensive,

and extended negotiations. Yet the Order threatens to block the Firm’s attorneys from engaging

in such discussions, infringing their clients’ Sixth Amendment rights and the Firm’s ability to

effectively and zealously represent those clients. Green Decl. at 6. This is not hypothetical; gov-

ernment employees have already canceled meetings, citing the Order. Burman Decl. ¶¶ 25-26.

       Second, the Order infringes “[t]he right to select counsel of one’s choice,” which “has been

regarded as the root meaning of the constitutional guarantee” of the right to counsel. United States

v. Gonzalez-Lopez, 548 U.S. 140, 147-48 (2006). “[T]he most important decision a defendant

makes in shaping his defense is his selection of an attorney.” United States v. Laura, 607 F.2d 52,

56 (3rd Cir. 1979). The upshot of the Order, however, is to obstruct that selection: the government

defamed Perkins Coie as “dishonest and dangerous,” EO § 1, singled out the Firm with unique

restrictions on its practice, EO §§ 3, 5, and is forcing the Firm’s many government contractor

clients to disclose their relationship with the Firm and face termination of contracts, EO § 3(a)-(b).

It is irrelevant that the government is not expressly barring clients from hiring the Firm; the Order




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intends to achieve that goal indirectly, and “a government official cannot do indirectly what [h]e

is barred from doing directly.” Vullo, 602 U.S. at 190. “[I]f a defendant chooses a particular

counsel, the sixth amendment prevents [the government] from taking any ‘arbitrary action prohib-

iting the effective use of (a particular) counsel.’” Laura, 607 F.2d at 57 (quoting United States ex

rel. Carey v. Rundle, 409 F.2d 1210, 1215 (3d Cir. 1969)). In addition, interfering with counsel’s

effectiveness can itself violate choice of counsel: a lawyer who could not effectively represent a

client because of limitations on his practice would be forced by the Rules of Professional Conduct

to withdraw. Simon Decl. ¶ 36. By seeking to interfere with the Firm’s effectiveness, the Order

compromises criminal defendants’ choice of Perkins Coie to defend them.

               3.      The Executive Order Also Violates the Due Process Right to Counsel

       The Order’s effects reach beyond the Sixth Amendment. Clients also have due process

interests in their attorney-client relationships. Clients enjoy “the right to the aid of counsel when

desired and provided by the party asserting the right.” Powell v. Alabama, 287 U.S. 45, 68 (1932);

accord Doe v. District of Columbia, 697 F.2d 1115, 1119 (D.C. Cir. 1983) (“[E]very litigant has

a powerful interest in being able to retain and consult freely with an attorney.”); see also Simon

Decl. ¶ 22. “[A]rbitrarily” interfering with and chilling those attorney-client relationships “would

be a denial … of due process in the constitutional sense.” Powell, 287 U.S. at 69. The Order does

just that. And, as with the Firm’s due-process interests discussed above, the Executive Order failed

to provide adequate process before interfering with those rights to counsel. Supra pp.29-30.




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       E.      The Executive Order Violates Equal Protection

       Perkins Coie also will succeed on its equal protection claim.8 Equal protection bars the

government not only from discriminating against entire classes, but also from disfavoring individ-

uals without a constitutionally legitimate basis. Such “class-of-one”9 claims require showing that

the plaintiff has (1) “been intentionally treated differently from others similarly situated” and

(2) “there is no rational basis for the difference in treatment.” Vill. of Willowbrook v. Olech, 528

U.S. 562, 564 (2000); see also McCrea v. District of Columbia, 2021 WL 1216522, at *8 (D.D.C.

Mar. 31, 2021). When the differential treatment burdens a plaintiff’s First Amendment activity, a

test “appreciably more stringent than ‘minimum rationality’” applies. See News Am. Pub., Inc. v.

FCC, 844 F.2d 800, 814 (D.C. Cir. 1988). “The classic class-of-one claim is illustrated when a

public official, with no conceivable basis for his action other than spite or some other improper

motive … comes down hard” on a citizen. Swanson v. City of Chetek, 719 F.3d 780, 784 (7th Cir.

2013) (cleaned up); see Brunson v. Murray, 843 F.3d 698, 705 (7th Cir. 2016) (“[C]lass-of-one

claims are designed to prevent government actors from singling out a person for arbitrary abuse.”).

       Both prongs of the class-of-one test are readily met. First, the Order intentionally targets

Perkins Coie with extraordinary sanctions not levied on similarly situated firms or lawyers. The

intentional and targeted nature of the sanctions is clear. Supra pp.16-22. So is the differential

treatment. Because “improper motive is usually covert,” class-of-one claims ordinarily require



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  The Fifth Amendment’s Due Process Clause contains an equal protection component applicable
to the federal government. Bolling v. Sharpe, 347 U.S. 497, 498 (1954). The “[e]qual protection
analysis … is the same.” Buckley v. Valeo, 424 U.S. 1, 93 (1976).
9
  Despite the “class-of-one” moniker, “there is no requirement that the challenged government
action single out one solitary person.” Franks v. Rubitschun, 312 F. App’x 764, 765 n.2 (6th Cir.
2009). “[T]he number of individuals” being targeted “is immaterial.” Olech, 528 U.S. at 564 n.*.
The key to the claim is that the differential treatment is not based on “[m]embership in a protected
class” but rather arbitrary mistreatment or animus. Franks, 312 F. App’x at 765-66.

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showing that “similarly situated individuals … received more favorable treatment.” Swanson, 719

F.3d at 784. That is easy enough: No other firm has been subjected to the same sanctions as

Perkins Coie. Moreover, unlike in run-of-the-mill class-of-one claims, the “improper motive” is

plain on the face of the Executive Order and the Administration’s related public statements. Supra

pp.9-10, 16-24. Where, as here, “animus is readily obvious,” strictly applying the comparator

requirement is unnecessary to establish an equal protection violation. Swanson, 719 F.3d at 784;

see SBT Holdings v. Town of Westminster, 547 F.3d 28, 35 & n.4 (1st Cir. 2008) (same); Stevens

v. Holder, 950 F. Supp. 2d 1282, 1289-91 (N.D. Ga. 2013) (plaintiff pleaded class-of-one claim

based on her “exclusion” from government meetings for reasons “she suspects … were false”).

       Second, the government cannot justify its conduct under even rational basis review, much

less heightened scrutiny. The government must put forward a “plausible reason” for its differential

treatment, FCC v. Beach Commc’ns, Inc., 508 U.S. 307, 313-14 (1993), which cannot be “so at-

tenuated” from its conduct “as to render [it] arbitrary or irrational,” City of Cleburne v. Cleburne

Living Ctr., Inc., 473 U.S. 432, 446 (1985) (citing, inter alia, U.S. Dep’t of Agric. v. Moreno, 413

U.S. 528, 535 (1973)). A “bare … desire to harm a politically unpopular group” is “not [a] legit-

imate state interest[].” Id. at 447 (quoting Moreno, 413 U.S. at 534); see also Romer v. Evans, 517

U.S. 620, 632 (1996) (where a governmental act is “so discontinuous with the reasons offered”

that it “seems inexplicable by anything but animus,” it “lacks a rational relationship to legitimate

state interests”). Here, the evidence already shows that the Order is not rationally related to any

legitimate interest but instead is intended and functions as retribution. Supra pp.9-10, 16-24.

II.    A TRO IS NEEDED TO STOP IRREPARABLE HARM

       For a TRO, irreparable harm must be “‘both certain and great,’ ‘actual ... not theoretical,’

and ‘of such imminence that there is a clear and present need for equitable relief.’” Drs. for Am.

v. Off. of Pers. Mgmt., 2025 WL 452707, at *8 (D.D.C. Feb. 11, 2025) (quoting Wis. Gas Co. v.


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Fed. Energy Regul. Comm’n, 758 F.2d 669, 674 (D.C. Cir. 1985)). This is a “high standard,” id.,

but amply met in the context of this Order, which is imposing extraordinary and escalating—po-

tentially fatal, if unaddressed—injury on Perkins Coie. Constitutional rights already have been

violated, agencies already have refused to engage with the Firm, clients already have terminated

representations, employees already have considered whether to leave the Firm, potential employ-

ees already have questioned whether to work there, and much more. Burman Decl. ¶¶ 24-34.

       The threat to Perkins Coie is truly existential—which is the Order’s objective. If no TRO

is granted, the Firm may not be solvent long enough for the Court to hear this case on the merits.

If that happens, the fact that the Order is patently unconstitutional will make no difference.

       A.      Perkins Coie Is Suffering Irreparable Economic Harm

       In days, the Executive Order has already subjected the Firm to multiple millions of dollars

in unrecoverable losses. Burman Decl. ¶ 29. While economic loss is not always irreparable, Har-

ris v. Bessent, 2025 WL 521027, at *8 (D.D.C. Feb. 18, 2025) (granting TRO), economic injuries

justify emergency equitable relief where “legal remedies after the fact [are] inadequate to restore

the party seeking a stay to the status quo ante.” Mann v. Wash. Metro. Area Transit Auth., 185 F.

Supp. 3d 189, 195 (D.D.C. 2016). Courts have articulated two scenarios in which economic losses

are irreparable. First, even “[r]ecoverable monetary loss may constitute irreparable harm … where

the loss threatens the very existence of the movant’s business.” Wis. Gas Co., 758 F.2d at 674.

Second, where damages are unrecoverable (for example, due to sovereign immunity), “significant”

economic loss may constitute irreparable harm. Luokung Tech. Corp. v. Dep’t of Def., 538 F.

Supp. 3d 174, 192 (D.D.C. 2021) (issuing injunction).

       First, absent relief, Perkins Coie can “reasonably fear a tsunami of adverse consequences

that would threaten its ability to continue to effectively operate,” including the departure of clients,

partners, and practice groups. Hirshon Decl. ¶ 14. Of the Firm’s nine practice groups, all “intersect


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with the federal government in some way and include clients with business before the federal

government.” Burman Decl. ¶ 12. The “vast bulk of [Perkins Coie’s] clients have matters” that

demand the Firm interact with federal agencies. Id. ¶ 13. Lost business will not be replaced, as

many current and prospective clients have matters related to the federal government. See Nalco

Co. v. EPA, 786 F. Supp. 2d 177, 188 (D.D.C. 2011) (irreparable harm from “loss of long-standing

clients that may be unwilling, or unable, to do business with [plaintiff] hereafter if no injunction

is issued” (cleaned up)). If the Order is not restrained, the Firm may not recover.

       The Order also imposes irreparable harm by hindering the Firm’s ability “to recruit and

retain employees to build—or even maintain—its business.” TikTok, Inc. v. Trump, 490 F. Supp.

3d 73, 84 (D.D.C. 2020) (issuing injunction); see also Luokung, 538 F. Supp. 3d at 193 (same).

The Order’s hiring restrictions (EO § 5) will “impair Perkins Coie’s hiring of lawyer and non-

lawyer professionals because of the risk that joining a law firm disfavored by the President would

destroy any possible future in federal government service (e.g., as a federal prosecutor).” Hirshon

Decl. ¶ 13. Perkins Coie is already experiencing those harms. Burman Decl. ¶¶ 24-34. This harm,

too, threatens the Firm’s ability to survive this unprecedented attack if not addressed.

       Second, Perkins Coie’s mounting losses are “irreparable per se” because sovereign immun-

ity limits the Firm to nonmonetary equitable relief. See Nalco, 786 F. Supp. 2d at 188 (citation

omitted); Luokung, 538 F. Supp. 3d at 192. Perkins Coie is grateful for the expressions of support

from and its continued relationships with many clients. Nonetheless, in response to the Order,

certain clients who are government contractors or are involved in government-related litigation

already have terminated their attorney-client relationships. Burman Decl. ¶ 29. This has caused

losses of anticipated revenue in the millions of dollars within days. Id. Other large clients who

have tens of millions of dollars of extensive business with the Firm, making a termination of the




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relationship more challenging, have expressed uncertainty about the future prospects of their rela-

tionship with Perkins Coie, and have requested daily updates regarding the Order’s

implementation. Id. The Department of Justice has already postponed one meeting with Perkins

Coie lawyers, citing the Executive Order, and another agency has done the same. Id. ¶¶ 25-26.

More than a thousand active matters in the federal courts, and thousands more before federal agen-

cies, are at risk. Id. ¶ 27. Absent relief, the Firm will incur mushrooming losses, all unrecoverable.

       B.      The Executive Order Has Impaired Perkins Coie’s Constitutional Rights

       “[T]here is a presumed availability of federal equitable relief against threatened invasions

of constitutional interests.” Davis v. District of Columbia, 158 F.3d 1342, 1346 (D.C. Cir. 1998)

(cleaned up). “[A] prospective violation of a constitutional right constitutes irreparable injury for

… purposes” of such relief. Karem v. Trump, 960 F.3d 656, 667 (D.C. Cir. 2020) (omission in

original) (quoting Gordon v. Holder, 721 F.3d 638, 653 (D.C. Cir. 2013)). Multiple such invasions

and violations have already occurred, and many more are imminent.

       First Amendment. “The loss of First Amendment freedoms, for even minimal periods of

time, constitutes irreparable injury.” Cigar Ass’n of Am. v. U.S. FDA, 317 F. Supp. 3d 555, 562

(D.D.C. 2018) (cleaned up) (granting injunction) (quoting Elrod v. Burns, 427 U.S. 347, 373

(1976)). Such a showing can be based on “First Amendment freedoms [that] are actually lost,” or

that “imminently will be.” Bailey v. Fed. Bureau of Prisons, 2024 WL 3219207, at *9 (D.D.C.

June 28, 2024) (granting injunction). The Order attacks Perkins Coie for allegedly “partisan”

speech and activity, and sets out specific retaliatory consequences. In retaliating against Perkins

Coie for its First Amendment activity, the Order threatens to halt the Firm’s, its clients’, and others’

protected petitioning activity and other speech; to restrict unconstitutionally its protected conduct;

and to infringe on its right to associate with the clients it chooses. Supra pp.19-24.

       These First Amendment violations are “certain, because [they] ha[ve] already occurred,


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and [are] ongoing.” Simms v. District of Columbia, 872 F. Supp. 2d 90, 105 (D.D.C. 2012); see

also Cigar Ass’n of Am., 317 F. Supp. 3d at 562 (a showing of irreparable harm is sufficient where

an order “‘threaten[s] or in fact ... impair[s]’ … First Amendment interests ‘at the time relief is

sought.’” (second omission added) (quoting Elrod, 427 U.S. at 373)). At the time of this filing,

Perkins Coie’s protected activity is actively being hampered by the Order; a growing number of

government agencies have flatly refused to interact with Perkins Coie lawyers. Burman Decl.

¶¶ 25-27. Clients have distanced themselves from their association with the Firm. Id. ¶¶ 28-30.

The Order thus “chill[s] the rights of clients to petition government for redress of grievances and

to peaceably assemble, as guaranteed by the First Amendment.” Simon Decl. ¶ 41.

        Fifth Amendment. “[A] violation of Fifth Amendment due process rights” also suffices for

a finding of irreparable harm. Karem, 960 F.3d at 668; see also Vote Forward v. DeJoy, 490 F.

Supp. 3d 110, 121, 129-30 (D.D.C. 2020) (enjoining threatened impairment of voting rights). The

Order violates Perkins Coie’s due process rights because it “finds wrongdoing and imposes pun-

ishment without prior notice, an opportunity to be heard, a fair and impartial factfinder, or any

other semblance of fair process.” Green Decl. at 4. It interferes with Perkins Coie’s professional

liberty interests, its liberty interests in its reputation, and its protected property interests in its con-

tractual relationships. Supra pp.24-31. The harm inflicted by the Order is ongoing, and “do[es]

not … require proof of any injury other than the threatened constitutional deprivation itself.” Gor-

don v. Holder, 721 F.3d 638, 653 (D.C. Cir. 2013) (quoting Davis, 158 F.3d at 1346). As long as

the Order remains in place, these irreparable harms will continue.

        The Order’s differential treatment of Perkins Coie also constitutes an equal protection vi-

olation. Supra pp.35-36. The Order imposes unique punitive sanctions on the Firm to which no

other similarly situated law firm or lawyer has been subjected—a “class of one.” Id. For the




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reasons above, the Firm has already been harmed by these “violations of [its] rights to equal pro-

tection of the laws under the Fifth Amendment,” which “are irreparable.” Doe 1 v. Trump, 275 F.

Supp. 3d 167, 216 (D.D.C. 2017), vacated sub nom. Doe 2 v. Shanahan, 755 F. App’x 19 (D.C.

Cir. 2019) (vacated on other grounds). Relief is necessary to curb further harm.

       Sixth Amendment. “The right to select counsel of one’s choice” is “the root meaning of the

[Sixth Amendment’s] constitutional guarantee.” Gonzalez-Lopez, 548 U.S. at 147-48. The Order

drastically limits the ability of Perkins Coie lawyers to represent their many clients, including

“barring [them] from federal buildings,” Hirshon Decl. ¶ 12, “bar[ing] federal employees from

‘engaging’ with” them, id., and requiring all federal contractor clients to “disclose any business

they do with” the Firm, which will subject them to a “review” solely because of that attorney-client

relationship, EO § 3. In so doing, the Order “distort[s] the legal system” and infringes on “the

freedom of [the Firm’s] clients to choose a lawyer,” which is protected by the Constitution. Green

Decl. at 5 (quoting Velazquez, 531 U.S. at 544; D.C. Rules of Prof. Conduct, Rule 5.6, cmt. [1]).

“[A]s a practical matter,” the Order “deprive[s] clients of their right to be represented by their

chosen lawyers.” Hirshon Decl. ¶ 12; see also Simon Decl. ¶¶ 32-35, 40. Perkins Coie has stand-

ing to assert this harm as well. Supra p.32.

       Many Perkins Coie clients, including the largest, have government contracts. Burnam

Decl. ¶ 28. In fact, a significant part of each practice group’s clients do business with the federal

government. Id. ¶ 18. And many Perkins Coie representations are not public, whether or not

related to government contracting. Id. ¶ 28; see also D.C. Ethics Op. 124 (“the fact of the firm’s

representation … is a client ‘confidence’ or ‘secret’ subject to … protection[]” if client requests

nondisclosure or if disclosure would embarrass or harm client). The Order requires clients to dis-

close confidential information about their consultations with counsel, putting them at risk of




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termination of their contracts. EO § 3(a). “The disclosure of confidential information is, by its

very nature, irreparable because such information, once disclosed, loses its confidential nature.”

Robert Half Int’l Inc. v. Billingham, 315 F. Supp. 3d 419, 433 (D.D.C. 2018) (cleaned up).

          C.      Perkins Coie Is Suffering Ongoing and Irreparable Reputational Harm.

          “Because injury to reputation or goodwill is not easily measurable in monetary terms it is

typically viewed as irreparable.” Xiaomi Corp. v. Dep’t of Def., 2021 WL 950144, at *9 (D.D.C.

Mar. 12, 2021) (cleaned up). The reputational injury here is no exception. The Order has damaged

Perkins Coie’s “corporate goodwill and reputation and its competitive position,” and that harm is

growing. Honeywell, Inc. v. Consumer Prod. Safety Comm’n, 582 F. Supp. 1072, 1078 (D.D.C.

1984) (issuing injunction). Not only does the Order disparage the Firm as “dishonest” and “dan-

gerous,” EO § 1, it threatens severe restrictions on the Firm’s ability to do work central to its

mission. See League of Women Voters of U.S. v. Newby, 838 F.3d 1, 9 (D.C. Cir. 2016) (reversing

denial of injunction; “obstacles” that “unquestionably make it more difficult for [movant] to ac-

complish [its] primary mission” establish irreparable harm); Nat’l Council of Nonprofits v. OMB,

2025 WL 368852, at *12 (D.D.C. Feb. 3, 2025) (same) (issuing TRO). There is a growing public

perception that Perkins Coie may be restricted from representing clients in government-facing

matters, or even entering federal courthouses.10 As discussed above, multiple large and longstand-

ing clients, including clients who are government contractors, clients with ongoing litigation, and

clients with matters that require engagement with federal agencies, have already taken their busi-

ness elsewhere, citing doubts about the Firm’s ability to continue to represent them in light of the

Order. Burnam Decl. ¶ 29. Others have informed Perkins Coie that they are considering other

counsel, have withdrawn consent for the Firm to disclose their relationship, or otherwise have



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     See, e.g., Exs. 5, 8, and 9 (articles discussing the impact of the Executive Order).

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expressed uncertainty about their continued relationship with the Firm. Id.

        The (false) suggestion that a law firm is so untrustworthy that it cannot be permitted to

represent clients in interactions with the federal government, in federal agencies, and in federal

courtrooms poses concrete, here-and-now harm to the Firm’s reputation. This Court has found far

less reputational damage to be irreparable.11 Emergency relief that preserves Perkins Coie’s ability

to advocate on behalf of its clients is necessary to limit the reputational damage.

III.    THE EQUITIES AND PUBLIC INTEREST STRONGLY FAVOR A TRO

        Where a movant “seeks to enjoin the government, the final two TRO factors—balancing

the equities and the public interest—merge.” Am. Foreign Serv. Ass’n v. Trump, 2025 WL 435415,

at *1 (D.D.C. Feb. 7, 2025) (citation omitted). Courts weigh “the competing claims of injury and

… consider the effect on each party [and the public] of the granting or withholding of the requested

relief.” Winter v. Nat’l Res. Def. Council, Inc., 555 U.S. 7, 24 (2008) (citation omitted).

        Here, the balance of the equities and the public interest overwhelmingly favor a TRO. The

injury to Perkins Coie has been immediate and severe. The Firm not only has suffered immense

reputational harm by being falsely branded as “dishonest and dangerous,” such that its personnel

should not be permitted on federal property or to engage with federal employees, but has already

lost clients and risks losing more. Supra pp.7-9, 37-39. In contrast, any purported injury to the

United States is non-existent. For example, the Order complains that former Perkins Coie lawyers

represented the President’s political opponent in 2016 and hired an investigative firm that produced

a “dossier” about him. But those are personal grievances from nine years ago. The President


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   See, e.g., Xiaomi, 2021 WL 950144, at *1, 9 (“almost unquestionable” that plaintiff’s designa-
tion as “Communist Chinese military company” “damaged its reputation[]”); Beacon Assocs., Inc.
v. Apprio, Inc., 308 F. Supp. 3d 277, 288 (D.D.C. 2018) (“termination for default … left a black
mark on [plaintiff’s] reputation, irreparable absent an injunction”); Patriot, Inc. v. HUD, 963 F.
Supp. 1, 5 (D.D.C. 1997) (agency letter that characterized plaintiff as “‘enticing’ senior citizens
into meetings, and ‘pressuring’ them” into financial decisions was irreparable reputational harm).

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already asserted the same allegations in a lawsuit filed in his personal capacity, which was dis-

missed. See Trump, 626 F. Supp. 3d 1264 (appeal pending).

       The Order also complains that the Firm represented clients in suits to challenge election

laws. But representing clients who petition the courts in election-related lawsuits does not inflict

cognizable injury on the United States where, as here, the lawsuits were meritorious or non-frivo-

lous. To the extent the Order notes former Perkins Coie lawyers’ alleged “lack of candor” in a

single court case, that is a matter the judicial branch already addressed. The injury to Perkins Coie

from the Order greatly outweighs any purported injury to the United States from its being enjoined.

       More broadly, there is no public interest in executive agencies implementing an illegal

executive order, like the present one. See League of Women Voters, 838 F.3d at 12 (“There is

generally no public interest in the perpetuation of unlawful agency action.”). But there is a “sub-

stantial public interest” in having governmental agencies “abide” by the law. Id. (citation omitted).

       Unless enjoined, the Order will undermine the strong public interest in lawyers’ zealously

representing clients without fear of government retribution. Under the Rules of Professional Con-

duct, “[t]he duty of a lawyer, both to the client and to the legal system, is to represent the client

zealously within the bounds of the law.” E.g., D.C. Rules Pro. Conduct r. 1.3 cmt. [1]. A lawyer

is required to “take whatever lawful and ethical measures are required to vindicate a client’s cause

or endeavor.” Id. “[V]igorous representation” is of “paramount importance” to “our adversarial

system of justice.” Penson v. Ohio, 488 U.S. 75, 84 (1988). “This system is premised on the well-

tested principle that truth—as well as fairness—is best discovered by powerful statements on both

sides of the question.” Id. (cleaned up).

       As explained in the attached expert declarations, the threat of presidential sanctions will

chill lawyers from representing clients whom the President views as political opponents, or from




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advocating legal positions that the President dislikes. Hirshon Decl. ¶ 3; Green Decl. at 4-5; Simon

Decl. ¶ 6. “[T]he Executive Orders will have the effect of forcing lawyers to choose between

performing their assigned role in our democracy or pleasing the President, all to the detriment of

clients and the fair administration of justice.” Hirshon Decl. ¶ 17. Indeed, the Order already is

having this chilling effect, as reported by the press. Supra pp.8-10, 37-28.

       This chill will make it immensely harder for clients who are unpopular with the current

administration to find legal representation, undermining the basic public policy favoring “the free-

dom of clients to choose a lawyer,” D.C. Rules Pro. Conduct r. 5.6, cmt. [1], and the Sixth

Amendment right to counsel of choice in criminal cases, Gonzalez-Lopez, 548 U.S. at 144. The

Rules of Professional Conduct provide that lawyers have a responsibility to “accept[] a fair share

of unpopular matters or … unpopular clients.” D.C. Rules Pro. Conduct r. 6.2, cmt. [1]. As the

Rules of Professional Conduct provide, “[l]egal representation should not be denied to people …

whose cause is controversial or the subject of popular disapproval.” Id. at r. 1.2, cmt. [3]. Yet the

Order threatens to punish lawyers for fulfilling this critical responsibility.

       Finally, by chilling zealous representation, the Order will impair the functioning of the

judiciary itself. “An informed, independent judiciary presumes an informed, independent bar,”

Velazquez, 531 U.S. at 545—not a bar under threat of political retribution from the President. If

this Order stands, nothing will prevent the next President from meting out punishment to lawyers

who represent his or her opponents. The public interest—and indeed the very functioning of our

legal system—demand entry of a TRO.

                                          CONCLUSION

       Perkins Coie respectfully requests that the Court hold a hearing as soon as possible, grant

the motion for a temporary restraining order, and enter the attached proposed order.




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Dated: March 11, 2025                    Respectfully submitted,

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